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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )               Case No. 8:15CR63
                      Plaintiff,                )
                                                )
       vs.                                      )
                                                )                    ORDER
CHRISTOPHER BASKIN,                             )
                                                )
                      Defendant.                )


       This case is before the court on the defendant Christopher Baskin's Motion to

Reopen Detention Hearing (#44).           The defendant moves the court for release and

placement with one of two proposed third-party custodians. The motion is denied without

hearing.

       A review of the docket shows the defendant is currently charged with three counts:

Ct. 1, Conspiracy to distribute and possession with intent to distribute 50 grams or more

of methamphetamine; Ct. 2, distribution of 50 grams or more of methamphetamine; and

Ct. 3, PWID 50 grams or more of methamphetamine, each punishable by 5-40 years

imprisonment, a fine up to $5,000,000, four years of supervised release, and a $100

special assessment.

       A review of the defendant's March 13, 2015, Pretrial Services Report (#31), and the

court's March 13, 2015, Detention Order (#38), shows the defendant has a significant prior

criminal record, and attempted to flee from the Omaha Police Department in a high-speed

chase on February 9, 2015. In addition, the defendant's proposed plan of release fails to

establish by clear and convincing evidence that he is neither a flight risk nor a danger under
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18 U.S.C. § 3143. I find the defendant has failed to carry his burden and that he should be

detained for trial or further order of the court.

       IT IS ORDERED: The defendant Christopher Baskin's Motion to Reopen Detention

Hearing (#44) is denied without hearing.

       Dated this 11th day of May 2015.

                                            BY THE COURT:


                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge




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